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                   UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF PENNSYLVANIA

GREAYS MENDOZA,
                                           CASE NO. 2:18-cv-02005-RBS
                     Plaintiff,
v.

DIVERSIFIED CONSULTANTS INC.,

                     Defendants.


     DEFENDANT DIVERSIFIED CONSULTANTS, INC.'S MOTION TO
        WlTHDRAW AND SUBSTITUTE COUNSEL OF RECORD

       NOW COMES Diversified Consultants, Inc. (“DCI''), by and through its

undersigned counsel, and files this Motion to Withdraw and Substitute Counsel

and respectfully shows the Court as follows:

       DCI moves to withdraw Richard J. Perr and Monica M. Littman. DCI

moves to substitute Aaron R. Easley of Sessions, Fishman, Nathan & Israel, LLC,

3 Cross Creek Drive, Flemington, NJ 08822-4938, as counsel of record in place

of Richard J. Perr and Monica M. Littman. Aaron R. Easley is a member in good

standing with the State of Pennsylvania and the United States District Court for

the Eastern District of Pennsylvania.

       All attorneys for the parties of record consent to this substitution of

counsel. This Motion is based on good cause in that DCI desires this change of

counsel and is not sought for the purposes of delay.

       WHEREFORE, DCI respectfully requests the Court grant this Motion to

Withdraw and Substitute Counsel, withdraw Richard J. Perr and Monica M.
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Littman as counsel of record for DCI, and designate Aaron R. Easley and

Sessions, Fishman, Nathan & Israel, LLC as counsel of record for DCI.


Dated: August 22, 2018
                                        Respectfully submitted,


                                        /s/ Aaron R. Easley
                                        Aaron R. Easley, Esq.
                                        SESSIONS, FISHMAN, NATHAN & ISRAEL,
                                        L.L.C.
                                        3 Cross Creek Drive
                                        Flemington, NJ 08822-4938
                                        Telephone No.: (908) 237-1660
                                        Facsimile No.: (908) 237-1663
                                        Email: aeasley@sessions.legal
                                        Attorney for Defendant,
                                        Diversified Consultants, Inc.




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                         CERTIFICATE OF SERVICE

       I certify that on this 22nd day of August 2018, a copy of the foregoing was

filed electronically in the ECF system. Notice of this filing will be sent to the

parties of record by operation of the Court’s electronic filing system. Parties may

access this filing through the Court’s system.




                                          /s/ Aaron R. Easley
                                          Aaron R. Easley, Esq.
                                          Attorney for Defendant,
                                          Diversified Consultants, Inc.




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